                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF MISSOURI


RURAL COMMUNITY WORKERS ALLIANCE
and JANE DOE,
                  Plaintiffs,

     vs.                                Case No. 5:20-cv-06063-DGK

SMITHFIELD FOODS, INC. and SMITHFIELD
FRESH MEATS CORP.,
                      Defendants.


       DEFENDANTS’ SUPPORTING SUGGESTIONS IN SUPPORT OF
   EMERGENCY MOTION TO DISMISS, OR IN THE ALTERNATIVE TO STAY,
    BASED ON PRIMARY JURISDICTION AND/OR BURFORD ABSTENTION
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                                I.     PRELIMINARY STATEMENT

       Plaintiffs Rural Community Workers Alliance (“RCWA”) and Jane Doe (“Plaintiffs”)

initiated this action on April 23, 2020 seeking extraordinary relief in the form of a mandatory

injunction. In support, they have offered allegations that grossly misrepresent the substantial

safety measures that Smithfield has implemented at its Milan, Missouri Plant (the “Plant”). It is

not surprising that not a single Smithfield employee was willing to apply their name to this baseless

lawsuit.   Plaintiffs’ request that this Court develop, monitor, and administer Smithfield’s

occupational health and safety program at the Plant is unprecedented and improper.

       In any event, the Court never needs to reach the merits of the Complaint or consider

Plaintiffs’ overreaching request for injunctive relief. Rather, pursuant to the primary jurisdiction

doctrine, the Court can—and should—dismiss or stay this suit in favor of the Occupational Health

and Safety Administration’s (“OSHA”) regulatory authority over workplace safety issues and the

Missouri Department of Health and Senior Services’ (“MDHSS”) jurisdiction over public health

in Missouri. Even if the Court does not dismiss or stay the suit because OSHA has primary

jurisdiction, there is an independent basis for dismissal under Burford abstention.

       Indeed, OSHA is already in the process of exercising its jurisdiction at the Plant. On the

day before Plaintiffs filed their Complaint in this case, OSHA sent Smithfield a “Rapid Response

Investigation” requesting information regarding its COVID-19 work practices and infection at the

Plant, giving Smithfield only seven days to respond. Smithfield is preparing its response for

submission on April 29, and intends to cooperate fully with OSHA. The Court should defer to

OSHA and its expertise to investigate and enforce any purported safety violations at the Plant.

Indeed, on Sunday, April 26, 2020, OSHA and the Centers for Disease Control (“CDC”) joined

together and issued specific COVID-19 guidance for meat processing plants.




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       In addition to OSHA’s oversight, the MDHSS has the authority to implement all

appropriate and necessary measures to protect the public from the spread of COVID-19. And

another layer of public health oversight—county public health administrators—provides further

protection.   Indeed, where food processing plants in Missouri have seen actual employee

infections—as opposed to speculation about future infections—county public health

administrators have worked closely with plants to protect employees and the public.

       Public policy strongly supports the Court deferring to OSHA and MDHSS on these issues.

Smithfield is an essential business critical to the nation’s food supply. There are many other

essential businesses operating throughout the country that are critical to the country’s survival.

Subjecting these entities to private lawsuits for injunctive relief, in which safety standards are

determined piecemeal by plaintiffs and the courts, will result in inconsistent rulings and

uncertainty for both employers and employees.

       The workplace safety and public health concerns created by the novel coronavirus are both

outside the conventional experience of judges and squarely within the technical and policy

expertise of OSHA and MDHSS. The agencies are already responding to these concerns in real

time, adapting as new facts emerge. That is not a role that a district court can or should take on.

Plaintiffs are wrong to ask the Court to interpose itself between these agencies and essential

businesses like Smithfield’s Milan Plant. Considerations of institutional competency and prudence

militate strongly in favor of a dismissal or stay on primary jurisdiction, or a dismissal based on

Burford abstention, and the Court should grant Smithfield’s Motion.

                                          II.    FACTS

A.     Smithfield and the Plant

       The named defendants in this action are Smithfield Foods, Inc. and its wholly owned

subsidiary, Smithfield Fresh Meats Corp. (collectively, “Smithfield”). The Plant at issue is a meat


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processing facility, which is an essential business that has lawfully continued to operate under the

Governor of Missouri’s stay at home order.1 The Plant and its operations constitute “critical

infrastructure” pursuant to the guidelines issued by the U.S. Department of Homeland Security,

Cybersecurity & Infrastructure Security Agency, which were adopted in Missouri’s stay at home

order.2

          The Plant has voluntarily implemented substantial workplace safety measures in response

to COVID-19, including providing personal protective equipment such as masks and face shields

to all workers and persons who enter the building, social distancing both in common areas,,

installing partitions between line workers, conducting temperature scans, providing multiple hand-

sanitizer stations, implementing additional sanitation of workspaces and other areas, and

encouraging workers to stay home when sick with pay and without penalty. These measures will

be further detailed in Smithfield’s response to Plaintiffs’ Motion for Preliminary

Injunction/Temporary Restraining Order to be filed on April 29, 2020.

          As of the date of this filing, there have been no confirmed diagnoses of COVID-19 at the

Plant.3 Moreover, to Smithfield’s knowledge, there have been no positive cases reported in

Sullivan County (which surrounds the city of Milan). A majority of counties adjacent to Sullivan



1
  Mo. Exec. Order (April 3, 2020), https://governor.mo.gov/priorities/stay-home-order, see Exhibit 1.
2
   See id. Item 2 (incorporating CISA’s definition of “critical infrastructure); U.S. CYBERSECURITY AND
INFRASTRUCTURE SECURITY AGENCY, ADVISORY MEMORANDUM ON IDENTIFICATION OF ESSENTIAL CRITICAL
INFRASTRUCTURE            WORKERS         DURING       COVID-19          RESPONSE        (April        17,       2020),
https://www.cisa.gov/sites/default/files/publications/Version_3.0_CISA_Guidance_on_Essential_Critical_Infrastruc
ture_Workers_4.pdf, p. 8 (defining “critical infrastructure” employees to include “food manufacturer employees,”
such as those working in “livestock [and] poultry … slaughter facilities”).
[The order references Version 2.0 of the guidance, which appears to be no longer publicly available, as it was removed
from the CISA website after Version 3.0 was published. A description of the update on CISA’s website indicates the
definitions regarding food processing plants remain unchanged. See https://www.cisa.gov/publication/guidance-
essential-critical-infrastructure-workforce.]
3
    See MISSOURI DEPT. OF HEALTH & SENIOR SERVICES, COVID-19 OUTBREAK GUIDE,
https://health.mo.gov/living/healthcondiseases/communicable/novel-coronavirus/results.php (last accessed April 27,
2020).



                                                         -3-
County also have zero positive cases to date, and the case counts are relatively low in the few

adjacent counties that have reported positive cases.4

B.      Plaintiffs’ Allegations and Request for Relief

        Plaintiffs assert claims about Smithfield’s safety practices as they relate to potential

COVID-19 exposure and seek declaratory and injunctive relief. See Compl. However, Plaintiffs

do not allege that there have been any positive diagnoses associated with the Plant, and as noted

above, Smithfield is aware of none.

        To be clear, this is not a suit for personal injury or wrongful death. RCWA does not allege

that any of its members have contracted COVID-19 at the Plant or otherwise. Likewise, Jane Doe

does not allege that she has tested positive for COVID-19. Indeed, Plaintiffs stipulate that they

are not seeking money damages. Compl. at ¶ 16.

        Plaintiffs seek a declaration that “Smithfield’s failure to implement appropriate worker

protections during the COVID-19 crisis constitutes a public nuisance under Missouri law and a

violation of the right to a safe work place under Missouri law.” Compl. at ¶ 123. However, the

primary relief sought by Plaintiffs is a Court Order, in the form of an injunction, requiring

Smithfield to adopt a list of work practices, many of which are vague and ill-defined, such as

“providing sufficient personal protective equipment” and “creating and implementing a social

distancing plan for the Plant” and “creating and implementing a protocol to clean surfaces.”

Complaint at ¶ 123. Plaintiffs also request that the Court require Smithfield to allow Plaintiffs’

experts to inspect the plant to identify additional precautions that Smithfield should take. Id. at ¶

123(viii). Smithfield will demonstrate in its response to Plaintiffs’ Motion for Preliminary



4
 Compare the number of positive cases in neighboring counties (Adair - 12, Livingston - 2, Linn - 5, and Macon - 2)
with other significant outbreak locations in the state (St. Louis County - 2,897, Kansas City - 500, Greene County -
83). Id.


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Injunction that it has already implemented all of the safety measures for which Plaintiffs’ seek

injunctive relief.

C.        OSHA’s Request for Information

          On the day before this case was filed, Smithfield received a request for information from

OSHA regarding its COVID-19 safety practices at the Plant. See Exhibit 2. OSHA has directed

Smithfield to respond to the request for information by Wednesday, April 29, 2020. Id. Smithfield

intends to cooperate fully with OSHA in this matter.

D.        OSHA’s Role

          The Occupational Safety and Health Act, 29 U.S.C. §§ 651, et. seq. (the “Act”), was

enacted “to assure so far as possible every working man and woman in the Nation safe and

healthful working conditions and to preserve our human resources.” 29 U.S.C. § 651(b). The Act

authorizes “the Secretary of Labor to set mandatory occupational safety and health standards

applicable to businesses affecting interstate commerce.” Id. at § 651(b)(3).

          OSHA is the federal agency charged with administering the Act. OSHA provides a

procedure for an employee who is concerned about workplace safety to file a confidential

complaint requesting that OSHA initiate an investigation into the employer’s work practices. 5

          The Act provides for “an effective enforcement program.” Id. at § 651(b)(10). The Act

authorizes OSHA to inspect or investigate any place of employment in order to carry out the

purposes of the Act. Id. at § 657. OSHA may issue a citation to an employer for any violation of

the Act, including the General Duty Clause, which requires an employer to furnish “a place of

employment which [is] free from recognized hazards that are causing or are likely to cause death



5
    See https://www.osha.gov/workers/file_complaint.html




                                                       -5-
or serious harm.” Id. at § 658. Any such citation “shall fix a reasonable time for the abatement of

the violation.” Id. The Act provides for additional enforcement mechanisms if an employer does

not correct a violation for which a citation has been issued. Id. at § 659. The Act further provides

for penalties for violations and/or failure to abate. Id. at § 666.

        The Act specifically includes procedures to address an imminent danger. Id. at § 662. The

Act permits the Secretary of Labor to petition the court

        to restrain any conditions or practices in any place of employment which are such
        that a danger exists which could reasonably be expected to cause death or serious
        physical harm immediately or before the imminence of such danger can be
        eliminated through the enforcement procedures otherwise provided by [the Act].

Id. The Act authorizes an employee to file a writ of mandamus to compel the Secretary to seek

such an order if the employee believes that the Secretary “arbitrarily or capriciously fails to seek

relief.” Id.6 In such a case, OSHA is directly involved, and the court is not acting without the

agency’s participation.

        OSHA has published “Guidance on Preparing Workplaces for COVID-19,” which makes

clear that the agency will use the General Duty Clause to enforce any unsafe conditions relating to

COVID-19. Exhibit 3 at 4. OSHA’s General Duty Clause provides that “employers are required

to provide their employees with a workplace free of recognized hazards likely to cause death or

serious physical harm.” Id. OSHA has also issued Interim Enforcement Guidance for Coronavirus

Disease 2018 (issued April 13, 2020), which identifies applicable standards that may apply to

COVID-19.7 See Exhibit 4. On Sunday, April 26, 2020, the CDC and OSHA jointly issued

Interim Guidance specific to the meat processing industry. See Exhibit 5.


6
  Plaintiffs’ Opposition, which purports to provide a timeline of OSHA action, ignores these emergency procedures.
Opposition at 3.
7
  These include the following:
          29 CFR § 1904, Recording and Reporting Occupational Injuries and Illness;



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E.     Plaintiffs’ Criticisms of OSHA

       In Plaintiffs’ Opposition to Letter Request for Extension of Time to Respond to Plaintiffs’

Emergency Motion for a Preliminary Injunction (Doc. 19), Plaintiffs make several unfounded

criticisms of OSHA and its response to COVID-19, to which Smithfield briefly responds below.

           Plaintiffs contend that “OSHA is hardly performing any onsite inspections,”

            Opposition at 2-3. However, Plaintiffs do not provide any support for this statement.

            Whether true or not, OSHA continues to pursue its mission and is conducting

            aggressive investigations using electronic means and demands for information, as is

            evidenced by its request to Smithfield regarding the Milan Plant.

           Plaintiffs suggest that OSHA is not investigating meat processing plants. Opposition

            at 3. This is a red herring. Whatever OSHA’s general policy is with respect to meat

            processing plants, it has inserted itself into safety issues at Smithfield’s Milan Plant.

            Moreover, just yesterday, OSHA and CDC issued joint guidance regarding COVID-

            19 safety issues directed at meat processing facilities.

           Plaintiffs contend that OSHA may only issue a citation to “abate[]” a violation after

            an inspection. 29 U.S.C. § 658(a). Opposition at 3. This is patently incorrect.

            OSHA may seek an immediate injunction under its emergency powers, as discussed

            above.




       29 CFR § 1910.132, General Requirements [Personal Protective Equipment]
       29 CFR § 1910.133, Eye and Face Protection
       29 CFR § 1910.134, Respiratory Protection
       29 CFR § 1910.141, Sanitation
       29 CFR § 1910.145, Specifications for Accident Prevention Signs and Tags
       29 CFR § 1910.1020, Access to Employee Exposure and Medical Records
       29 CFR § 1910.1030, Bloodborne Pathogens



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            Plaintiffs contend that “even if their claims were not emergent, the wait for OSHA to

             act would likely be years.” Opposition at 3. Again, this is incorrect. Plaintiffs cite

             to statutes of limitations (6 months for OSHA to issue a citation) and employer

             response times (15 days), which are outer limits. Moreover, Plaintiffs assume an

             appeals process—a process that is available in the courts is well.

F.      State and Local Public Health Authority Over COVID-19

        While OSHA is responsible for workplace safety, Missouri state and local government has

a corresponding responsibility for public safety. Missouri, like other states around the country,

has implemented statewide policies to address the threat of COVID-19 exposure and transmission.

        Governor Parson, through the Missouri Department of Health and Senior Services

(“MDHSS”), issued a “stay-at-home” order on April 3, 2020. 8 The order includes general COVID-

19 safety requirements and guidelines pertaining to individuals, as well as the operations of both

essential and non-essential businesses. 9 The Governor assigned responsibility for implementing

and enforcing specific COVID-19 safety measures to “all local and state health authorities.” Mo.

Rev. Stat. Ann. § 192.290.10

        MDHSS continues to fulfill this responsibility, as it has issued dozens of guidance

statements11 containing specific COVID-19 safety measures, including several statements

pertaining specifically to workplace safety.12 Additionally, MDHSS and local health agencies


8
  Mo. Exec. Order (April 3, 2020), https://governor.mo.gov/priorities/stay-home-order, see Exhibit 1.
9
  See id., Items 1-3.
10
   See id., p. 2.
11
   See MDHSS, HEALTH ALERTS, ADVISORIES & UPDATES,
https://health.mo.gov/emergencies/ert/alertsadvisories/index.php (last accessed April 26, 2020)
12
   See, e.g., MDHSS, INTERIM GUIDANCE FOR IMPLEMENTING SAFETY PRACTICES FOR CRITICAL INFRASTRUCTURE
WORKERS, https://health.mo.gov/emergencies/ert/ alertsadvisories/pdf/update 4920.pdf (last accessed April 26,
2020); MDHSS, COVID-19 AND RETURN TO WORK MESSAGING - EXPANDED GUIDANCE FOR CRITICAL
INFRASTRUCTURE PERSONNEL INVOLVED IN THE PROVISION OF DIRECT CLIENT CARE,
https://health.mo.gov/emergencies/ert/alertsadvisories/pdf/guidance41720.pdf (last accessed April 26, 2020).



                                                      -8-
have worked closely with a number of private businesses to monitor and develop their COVID-19

safety measures.13 MDHSS has also worked closely with federal agencies in responding to the

virus,14 and the Center for Disease Control has made itself available to assist state and local

agencies in their response to health emergencies such as COVID-19. 15

        Missouri’s COVID-19 response led by state and local agencies is consistent with—and in

fact required by—Missouri law. All “public health functions and programs” in Missouri must be

supervised and managed by the MDHSS. Mo. Rev. Stat. Ann. § 192.005. Further, Missouri

regulations specifically provide that the Director of MDHSS must use “the legal means necessary

to control … any disease or condition listed in 19 Mo. CSR 20-20.020 which is a threat to the

public health.” 19 Mo. C.S.R. 20-20.040. Listed diseases and conditions include “[o]utbreaks

(including nosocomial) or epidemics of any illness, disease, or condition that may be of public

health concern.” 19 Mo. C.S.R. 20-20.020. That provision undoubtedly covers COVID-19.

        Under MDHSS regulations, upon report of an infectious disease under Section 20-20.020,

both the Director and “local health authorit[ies]” have a duty to take appropriate measures to lessen

the effect of the disease:


13
   See, e.g., JEFFERSON COUNTY HEALTH DEPARTMENT BLOG, “Jefferson County Health Department Reports
COVID-19 Outbreak At Festus Manor Care Center,” (April 17, 2020)
http://www.jeffcohealth.org/blog/2020/4/17/jefferson-county-health-department-reports-covid-19-outbreak-at-
festus-manor-care-center (noting that a nursing facility is “working closely with Jefferson County Health
Department to contain the virus”); “Coronavirus Latest,” KMOV4 News, (April 8, 2020)
https://www.kmov.com/coronavirus-covid-latest-info-in-st-louis/article_f35c5f16-7038-11ea-9c06-
f30dcb4bc9eb.html (noting that a hospital “is continuous contact with St. Charles Health Department so that they
can notify individuals who may have been exposed during this time and determine a proper course of action”).
14
   See, e.g., Office of the Governor Press Release, “Governor Parson Gives Updates On Missouri National Guard,
Department of Economic Development Efforts to Assist with COVID-19 Response,” https://governor.mo.gov/press-
releases/archive/governor-parson-gives-updates-missouri-national-guard-department-economic (Mar. 31, 2020);
Office of the Governor Press Release; MDHSS Press Release, “DHSS Director Williams meets at White House to
discuss federal, state and local health officials’ strategic alignment on COVID-19,”
https://health.mo.gov/news/newsitem/uuid/ffc9eb47-c189-4cc7-8a24-6130a710dbb3/dhss-director-williams-meets-
at-white-house-to-discuss-federal-state-and-local-health-officials-strategic-alignment-on-covid-19 (Feb. 27, 2020).
15
   U.S. CENTERS FOR DISEASE CONTROL AND PREVENTION, “CDC Support to Health Officials,”
https://www.cdc.gov/publichealthgateway/healthdepartmentresources/health-official-support.html (last accessed
April 26, 2020) (noting states’ 10th Amendment police powers to respond to health emergencies, and offering
various means of assistance aimed to helping states to implement those powers).


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       (A) Inspect any premises that they have reasonable grounds to believe are in a
           condition conducive to the spread of the disease; . . .

       (E) Establish and maintain quarantine, isolation or other measures as required;…

       (G) Establish appropriate control measures which may include isolation,
           quarantine, disinfection, immunization, closure of establishment, notification
           to the public of the risk or potential risk of the disease and such information
           required to avoid or appropriately respond to the exposure, the creation and
           enforcement of adequate orders to prevent the spread of the disease and other
           measures considered by the department and/or local health authority as
           appropriate disease control measures based upon the disease, the patient’s
           circumstances, the type of facility available, and any other available
           information related to the patient and the disease or infection.

19 Mo. C.S.R. 20-20.040.

                                        III.    ARGUMENT

A.     The Court Should Dismiss or Stay This Action In Favor of OSHA’s Primary
       Jurisdiction Over Workplace Safety.

       1.      Legal Standard for Invoking Primary Jurisdiction Doctrine

       The doctrine of primary jurisdiction applies to claims “properly cognizable in court that

contain some issue within the special competence of an administrative agency.” Reiter v. Cooper,

507 U.S. 258, 268 (1993). It is a “common-law doctrine that is utilized to coordinate judicial and

administrative decision making.” Access Telecommunications v. Southwestern Bell Tel. Co., 137

F.3d 605, 608 (8th Cir. 1998) (citations omitted). The doctrine “is concerned with promoting

proper relationships between the courts and administrative agencies charged with particular

regulatory duties.” United States v. Western Pac. R.R. Co, 352 U.S. 59, 63 (1956).

       There is no set formula for when the doctrine applies, but “[i]n every case the question is

whether the reasons for the existence of the doctrine are present and whether the purposes it serves

will be aided by its application in the particular litigation.” Chlorine Inst., Inc. v. Soo Line R.R.,

792 F.3d 903, 909 (8th Cir. 2015) (quoting United States v. Western Pac. R.R. Co., 352 U.S. 59,

64 (1956)); Asarco, LLC v. NL Indus., No. 11-00123-CV-SW-BP, 2013 U.S. Dist. LEXIS 43013,


                                                -10-
*9 (W.D. Mo. Mar. 18, 2013). The two primary reasons for applying the primary jurisdiction

doctrine are: (1) “to obtain the benefit of the agency’s expertise and experience”; and (2) “to

promote uniformity and consistency within the particular field of regulation.” Sprint Spectrum

L.P. v. AT&T Corp., 168 F.Supp.2d 1095, 1097-98 (W.D. Mo. 2001) (citations omitted).

         The doctrine of primary jurisdiction may be applied even where claims arise under state

law. For example, in Sprint Sprectrum L.P., the plaintiff asserted state law claims for implied

contract and quantum meruit. 168 F.Supp.2d at 1099. Nevertheless, the court stayed the case in

favor of an FCC proceeding because the outcome turned on the “reasonableness” of Sprint’s rates,

“a fact that must be proven and one which the FCC is in a better position than the Court to

evaluate.” Id. at 1099-1100; see also Nader v. Allegheny Airlines, 426 U.S. 290, 296-97 (1976)

(observing that the D.C. Court of Appeals determined that the viability of plaintiff’s common-law

fraudulent misrepresentation claim would be affected by agency determination). 16

         Moreover, as the cases cited herein demonstrate, there need not be an existing agency

proceeding for the court to invoke the doctrine of primary jurisdiction. 17 However, the fact that a

collateral agency action is already underway weighs in favor of the court deferring to the agency

process. See Asarco, 2013 U.S. Dist. 43013 at *14-19.

         In applying the primary jurisdiction doctrine, the court has discretion whether to dismiss

or stay the lawsuit pending the agency determination. Chlorine Institute, 792 F.3d at 913 (citing

Reiter, 507 U.S. at 268-69). Generally, dismissal is appropriate where resolution of the deferred




16
   Plaintiffs’ Opposition brief incorrectly argues that the primary jurisdiction doctrine cannot be applied to state law
claims. Opposition at 3-4.
17
   Plaintiffs’ Opposition suggests that primary jurisdiction may only be applied where there is an existing agency
proceeding. Opposition at 2. However, the case cited, Curran v. Bayer Healthcare, does not stand for this
proposition. It merely indicates that defendant in that case failed to identify any such proceeding. Moreover, the
case on which Curran relies focused on whether such a proceeding is available—not whether it has already been
initiated. Here, Plaintiffs have available relief through OSHA’s complaint process and emergency powers.


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issue will likely dispose of the entire case. See id. However, the Court may choose to stay the

matter while the agency action proceeds. See id.

        2.       The Primary Jurisdiction Doctrine Applies Here.

        This is a quintessential case for application of the primary jurisdiction doctrine. The issues

presented by Plaintiffs’ Complaint relate to workplace safety. Plaintiffs seek only declaratory and

injunctive relief. Specifically, they seek a Court order requiring Smithfield to adopt a list of work

practices identified by Plaintiffs to protect against the spread of COVID-19. But there is a federal

agency, OSHA, with special expertise in this area. Moreover, OSHA is actively involved in

investigating and enforcing COVID-19 safe work practices throughout the country. Indeed,

OSHA has already contacted Smithfield using a “Rapid Response Investigation” to obtain

information regarding its COVID-19 safety practices at the Plant, and Smithfield is cooperating

with OSHA. The Court should defer to OSHA as to whether Smithfield’s existing safety practices

are sufficient to protect employee health, or whether additional measures should be implemented.18

        Plaintiffs’ request for injunctive relief implicates several specific OSHA regulations. The

table below highlights some of the specific OSHA standards at issue:




18
   Plaintiffs’ reference the OSHA savings clause in their Opposition. Opposition at 4. However, the savings clause
relates to preemption—not primary jurisdiction. Smithfield will address the issue of OSHA preemption in its
Opposition to Plaintiffs’ Motion for Preliminary Injunction/Temporary Restraining Order.


                                                      -12-
     Relief Requested in Complaint                                     OSHA Standard

 Order Smithfield to provide “sufficient General Personal Protective Equipment (PPE), 29
 personal protective equipment” Compl. CFR 1910.132
 ¶ 123(c)(i).
                                         1910.132(d)
                                         Hazard assessment and equipment selection.
                                         1910.132(d)(1)
                                         The employer shall assess the workplace to
                                         determine if hazards necessitate the use of personal
                                         protective equipment (PPE). If such hazards are
                                         present, or likely to be present, the employer shall:
                                         1910.132(d)(1)(i)
                                         Select and require the use of PPE that will protect
                                         the affected employee;

 Order Smithfield to “create[] and Bloodborne Pathogens, 29 CFR 1910.1030 (which
 implement[] a social distancing plan” OSHA has stated provides guidance for purposes of
 Compl. ¶ 123(c)(ii).                  COVID-19 safety)

                                                   1910.1030(d)(2)
                                                   Engineering and Work Practice Controls.
                                                   1910.1030(d)(2)(i)
                                                   Engineering and work practice controls shall be used
                                                   to eliminate or minimize employee exposure.

 Order Smithfield to “ create[] and Sanitation, 29 CFR 1910.141:
 implement[] a protocol to clean
 surfaces” Compl. ¶ 123(c)(v).      1910.141(a)(3)(i)
                                    All places of employment shall be kept clean to the
                                    extent that the nature of the work allows.

 Order Smithfield to        “provide[] Medical Services and First Aid, 29 CFR 1910.151
         19
 tissues” Compl. ¶ 123(c)(iv).
                                       1910.151(b)
                                       Adequate first aid supplies shall be readily available.


        OSHA is in the best position to assess Smithfield’s COVID-19 work practices—not the

Court in the first instance. Moreover, deferring to OSHA will promote uniformity, which is critical

in these unprecedented times. Essential businesses that continue to operate to provide the public


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   For obvious reasons, the United States Department of Agriculture would not allow production line workers to have
tissues while working on the line.


                                                       -13-
and the government critical products and services should not be subject to piecemeal and

inconsistent safety requirements imposed by private plaintiffs and courts.

         The relief requested by Plaintiffs is truly unprecedented. Plaintiffs are asking this Court to

develop, monitor, and administer Smithfield’s occupational health and safety program at the Plant.

Plaintiffs have appointed themselves and their “experts” the role of inspecting the Plant and

making determinations about what safety procedures must be implemented. The Court is then

expected to take their recommendations and fashion a mandatory injunction that will require

Smithfield to implement a specific safety program, which the Court presumably will police over

the course of the pandemic.

         Smithfield is not aware of a single case where a court commandeered an employer’s

occupational safety and health program in such a manner, and Plaintiffs have cited none. Indeed,

courts have refused such invitations—even in the face of the COVID-19 pandemic. For example,

in Alaska State Employees Association, Local 52 v. SOA, 3AN-20-056652CI, the Union

representing the state employees of Alaska filed suit against the state for alleged violation of the

duty to provide a safe place to work and seeking injunctive relief to require the state to implement

work practices to protect the employees from COVID-19. The court denied the injunction and

declined to insert itself in the state’s determination of how to best protect its employees and

continue to provide essential services. See Order Regarding ASEA’s Motion for a Temporary

Restraining Order and Preliminary Injunction, attached as Exhibit 6. Courts have denied similar

requests for injunctive relief that would require the court to oversee safety protocols at prisons.

Baxley v. Jividen, 2020 WL 1802935 (W.D. Va. April 8, 2020).20 The Court should likewise


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  In Valentine v. Collier, __ F.3d __, 2020 WL 1934431 (5th Cir. Apr. 22, 2020), the district court granted injunctive
relief related to the state prison system’s response to COVID-19, but the Court of Appeals stayed the injunction
pending appeal. The Court noted that the prison system’s “ability to continue to adjust [their] policies [would be]



                                                        -14-
decline Plaintiffs’ invitation here, and defer workplace safety issues to OSHA and its expertise,

working in conjunction with the Plant.

B.       This Court Should Abstain from Injecting Itself into Areas of Public Health Which
         Are Uniquely State Issues.

         1.       Legal standard for Burford abstention.

         Federal courts “‘should exercise their discretionary power with proper regard for the

rightful independence of state governments in carrying out their domestic policy.’” Burford v. Sun

Oil Co., 319 U.S. 315, 334-35 (1943) (Douglas, J., concurring) (quoting Commonwealth of

Pennsylvania v. Williams, 294 U.S. 176, 185 (1935)); see Johnson v. Collins Entertainment Co.,

Inc., 199 F.3d 710, 720 (4th Cir. 1999) (holding that federal court abstention is required when

states are protecting their residents’ health, safety, and welfare, and “different states can arrive at

different answers based on their different experiences”).

         A federal court may abstain from jurisdiction under the Burford abstention doctrine when

(1) “there have been presented difficult questions of state law bearing on policy problems of

substantial public import whose importance transcends the result in the case at bar”; and

(2) “exercise of federal review of the question in a case and in similar cases would be disruptive

of state efforts to establish a coherent policy with respect to a matter of substantial public concern.”

Wolfson v. Mutual Benefit Life Ins. Co., 51 F.3d 141, 144 (8th Cir. 1995); Melahn v. Pennock

Insurance Inc., 965 F.2d 1497, 1506 (8th Cir. 1992) (“Burford abstention applies when a state has

established a complex regulatory scheme supervised by state courts and serving important state

interests, and when resolution of the case demands specialized knowledge and the application of




significantly hampered by the preliminary injunction, which locks in place a set of policies for a crisis that defies fixed
approaches.” Id. (citing Jacobson v. Mass., 197 U.S. 11, 28-29 (1905); In re Abbott, 954 F.3d 772, 791 (5th Cir.
2020)).



                                                          -15-
complicated state laws”) (quoting Bilden v. United Equitable Ins. Co., 921 F.2d 822, 825-26 (8th

Cir. 1990)).

        The application of the Burford doctrine does not require that a state authority have already

intervened with respect to the specific matter. See generally Johnson. Rather, it is enough that a

plaintiff may seek redress in a state court, where questions of local policy related to regulation and

enforcement should be decided. See id. at 716 (noting that “[t]he state courts are intimately

involved in [the regulatory] scheme through the adjudication of private actions and the review of

administrative decisions”); see also Heartland Hosp. v. Strangler, 792 F.Supp. 670, 672 (W.D.

Mo. 1992) (“Burford abstention is necessary when federal review would likely be ‘disruptive of

state efforts to establish a coherent policy with respect to a matter of substantial public concern’”

(quoting Colorado River Water Conservation Dist. v. U.S., 424 U.S. 800, 814 (1976))).

        Abstention is especially appropriate when the issue to be decided “lies at the heart of the

state’s police power” because “[f]ormulations of that power underscore the state’s paramount

interest in the health, welfare, safety, and morals of its citizens.” See Johnson, 199 F.3d at

720. Otherwise, “the federal courts might adjudicate all kinds of disputes involving the most

sensitive questions of state law and policy that arrive at their door . . . . This would in time endanger

the independence of state policy at the core of state police power and cause friction between the

federal and state systems.” Id.

        2.      The Court should abstain in favor of Missouri’s Public Health Agencies.

        The Court should exercise its discretion to abstain in this case pursuant to the Burford

abstention doctrine. Plaintiffs are seeking to serve as private attorneys general to enforce the state

of Missouri’s public health law. A federal court should not insert itself into the state’s public

policy regarding the protection of its citizens from COVID-19 exposure and transmission,

particularly when there is a substantial risk that the federal court would decide the case differently


                                                  -16-
than the state. See Lac D’Amiante du Quebec, Ltee v. Am. Home Assur. Co., 864 F.2d 1033, 1046

(3d Cir. 1988) (abstaining because “the risk is not insubstantial” that state agencies “would adopt

a different interpretation than did the district court”). Rather, this matter should be handled by

state and local public health agencies.

       There is no question that the State of Missouri is already actively involved in protecting

the public from COVID-19 exposure and transmission. The Governor has issued a “stay-at-home”

order for this express purpose, but made the decision to permit businesses such as the Plant, which

are essential to the State and nation’s food supply, to continue to operate. The order specifically

provided that essential businesses need not require six feet between individuals if the workers’

“job duties require contact with other people closer than six feet.” The injunction Plaintiffs seek

requiring Plant employees to remain more than six feet apart would directly contradict the

Governor’s order. That is improper: “The purpose of Burford abstention is to discourage such

federal court second-guessing of state regulatory matters.” Sierra Club v. City of San Antonio, 112

F.3d 789, 796 (5th Cir. 1997) (vacating preliminary injunction because the district court should

have abstained under Burford).

       Moreover, the Governor assigned responsibility for implementing and enforcing specific

COVID-19 safety measures to Missouri’s local and state health authorities. MDHSS has embraced

this responsibility, and both MDHSS and local health agencies have worked closely with a number

of private businesses to monitor and develop their COVID-19 safety response. MDHSS has also

worked closely with federal agencies in responding to the virus, and has the ability to invite the

Centers for Disease Control to assist with state and local response as needed.

       Missouri law specifically vests authority over public health matters with MDHSS, and

requires MDHSS to use “the legal means necessary to control” a disease such as COVID-19,




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“which is a threat to the public health.” 19 Mo. C.S.R. 20-20.040. Under state law, public health

authorities have the duty and authority to inspect premises suspected of spreading disease,

establish and maintain quarantines, and implement appropriate control measures to prevent the

spread of disease. Id. Public health agencies throughout Missouri have acted on these duties and

responsibilities, and there is no reason to believe they would not also do so if alerted to any threat

to public health associated with the Plant.

       It is entirely improper for this Court to assume responsibility for Missouri’s public health

law. Plaintiffs have not asserted a federal law claim, and the federal court has no overriding

interest in this matter. If there are truly public health concerns related to the Plant (and Smithfield

vehemently disputes that), then addressing those issues is a matter of state policy that can be

addressed by MDHSS and the local public health authorities. This is not the proper forum to

adjudicate Missouri’s public health policy.

       Plaintiffs cite to examples of Smithfield and other meat processing plants being shut down

in other jurisdictions. However, in none of these examples was a state or federal court

involved. Rather, in some instances state and local public health agencies made the decision to

order the plant to close pending further investigation, and in others, the plants voluntarily closed

in response to requests from state government or for other reasons (e.g., Smithfield’s Cudahy,

Wisconsin facility that Plaintiffs cite closed because of supply chain issues – not a COVID-19

outbreak in the plant). These examples do not support the federal court’s involvement in this

matter. To the contrary, they militate against it. The Court should therefore dismiss this action

pursuant to the Burford abstention doctrine.

                                        IV.     CONCLUSION

       A stay or dismissal is proper here. The principle of comity underlying primary jurisdiction

and Burford abstention takes on heightened importance – and militates even more heavily in favor


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of invoking the doctrines – where the possibility exists that the relief in the private action might

conflict with the agency action. Davies v. Nat’l Coop. Refinery Ass’n, 963 F. Supp. 990, 997 (D.

Kan. 1998) (abstaining from exercising RCRA jurisdiction in favor of the agency “charged by

state law with responsibility for … protecting human health and the environment” to avoid

“prospect of conflicting directives from this court as to how the contamination should be

remedied”). 21

           It is not hard to imagine the chaos that would flow if courts take over the occupational

health and safety programs of essential businesses around the country and appoint themselves

keepers of the public health. An employee who claims an unsafe workplace already can file an

OSHA complaint or seek the assistance of public health officials. If this additional avenue of court

oversight of safety were opened businesses, already strapped to survive during the pandemic,

would be faced with increased financial costs of litigation. A company that operates in multiple

jurisdictions, such as Smithfield, would have no expectation of uniformity and could even be in a

position to have inconsistent legal obligations as between OSHA and a decision from the court.

           None of this is necessary. OSHA has broad powers to investigate and enforce workplace

safety, and MDHSS has the necessary police power to regulate plant operation and ensure public

health. This Court need not—and should not—wade into this area, and put itself in the position of

policing workplace safety and directing state public health policy at the behest of a private plaintiff.

The Court should grant Smithfield’s Motion, and dismiss or stay this action in favor of the

authority and expertise of OSHA and MDHSS.



                                                   SMITHFIELD FOODS, INC. and
                                                   SMITHFIELD FRESH MEATS CORP.


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     The Davies court based its decision to abstain on both primary jurisdiction and the Burford abstention doctrine.


                                                           -19-
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